                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION
 UNITED STATES OF AMERICA,                            )
                                                      )
                 Plaintiff,                           )
                                                      )
 v.                                                   )       No. 11-00302-03-CR-W-DW
                                                      )
 LORRIE R. DOLAN,                                     )
                                                      )
                 Defendant.                           )
                                            ORDER

         Before the Court is Magistrate Judge Robert E. Larsen’s Report and Recommendation (Doc.

337). After an independent review of the record, it is hereby ORDERED that:

         (1) the Court ADOPTS the Magistrate’s Report and Recommendation and the Magistrate’s

Report and Recommendation (Doc. 337) shall be attached to and made a part of this Order; and

         (2) the Defendant Lorrie R. Dolan is competent to proceed to sentencing.

         IT IS SO ORDERED.




 Date:     August 27, 2013                                     /s/ Dean Whipple
                                                                    Dean Whipple
                                                             United States District Judge




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